                  Case 24-10070-BLS             Doc 208       Filed 04/04/24        Page 1 of 10




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                              Chapter 11

    TERRAFORM LABS PTE. LTD.,1                                          Case No. 24–10070 (BLS)

             Debtor.                                                    Ref. Docket No. 185

                                      CERTIFICATE OF SERVICE

I, NADIA ALAZRI, hereby certify that:

1. I am employed as a Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the
   age of eighteen years and am not a party to the above-captioned action.

2. On March 21, 2024, I caused to be served the “Motion of Debtor for Entry of Order Further
   Extending Time to File (I) Schedules of Assets and Liabilities and Statement of Financial
   Affairs and (II) 2015.3 Financial Report,” dated March 21, 2024 [Docket No. 185],
   by causing true and correct copies to be:

      a. enclosed securely in separate postage pre-paid envelopes and delivered via first class
         mail to those parties listed on the annexed Exhibit A,

      b. delivered via electronic mail to those parties listed on the annexed Exhibit B, and

      c. delivered via electronic mail to those CM/ECF parties listed on the annexed Exhibit C,
         in accordance with Local Rule 5004-4(c)(ii).

3. In addition, I hereby certify that the referenced document was electronically filed with the
   United States Bankruptcy Court for the Delaware District by using the CM/ECF system. I
   further certify that the parties of record in this case, all registered CM/ECF users located on
   the Court’s Electronic Mail Notice List, were served through the CM/ECF system.

                                                                        /s/ Nadia Alazri
                                                                        Nadia Alazri




1
    The Debtor’s principal office is located at 1 Wallich Street, #37-01, Guoco Tower, Singapore 078881.
Case 24-10070-BLS   Doc 208   Filed 04/04/24   Page 2 of 10




                    EXHIBIT A
                                              Terraform Labs PTE Ltd.
                           Case 24-10070-BLS      Doc 208 Filed 04/04/24
                                                    Service List
                                                                                    Page 3 of 10

Claim Name                               Address Information
ACA ENGRG PTE LTD                        ATTN: POHYEE SONG 27 MANDAI ESTATE 07-07 INNOVATION PLACE, TOWER 2 SINGAPORE
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CLOUDFLARE, INC.                         ATTN: MICHELLE ZATLYN 101 TOWNSEND STREET SAN FRANCISCO CA 94107
CORNERSTONE RESEARCH                     ATTN: YAN CAO 599 LEXINGTON AVENUE 40TH FLOOR NEW YORK NY 10022-7642
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ESHARES, INC. DBA CARTA, INC.            333 BUSH STREET SUITE 2300 SAN FRANCISCO CA 94104
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INTERNAL REVENUE SERVICE                 1111 CONSTITUTION AVE, NW WASHINGTON DC 20220-0001
J.S HELD LLC                             ATTN: JP BRENNAN 48 WALL STREET NEW YORK NY 10043
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                                         TOWN, TORTOLA VG 1110 VIRGIN ISLANDS
NANSEN PTE. LTD                          ATTN: ALEXANDER SVANEVIK 111 SOMERSET RD, 03-09 SINGAPORE 238164 SINGAPORE
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                                         WILMINGTON DE 19801
OFFICE OF THE UNITED STATES TRUSTEE      DISTRICT OF DELAWARE ATTN: LINDA RICHENDERFER, ESQ. 844 KING ST, STE 2207,
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                                         HONG KONG
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PAGERDUTY, INC.                          600 TOWNSEND ST. #200 SAN FRANCISCO CA 94103
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                                         ARROWS FUND, LTD ATTN: J. PINTARELLI, A. LYMAN P.E. FITZMAURICE & H. MCDONALD
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RAHMAN RAVELLI                           ATTN: NICOLA SHARP & AZIZUR RAHMAN BRIDGE HOUSE 181 QUEEN VICTORIA STREET
                                         LONDON EC4V 4EG UNITED KINGDOM
REED SMITH                               ATTN: WAYNE STANSFIELD & MARK BINI THREE LOGAN SQUARE SUITE 3100, 1717 ARCH
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SECRETARY OF STATE/DIV OF REVENUE        DIVISION OF CORPORATIONS; FRANCHISE TAX JOHN G TOWNSEND BLDG 401 FEDERAL ST,
                                         STE 4 DOVER DE 19901
SECRETARY OF STATE/DIV OF REVENUE        DIVISION OF CORPORATIONS FRANCHISE TAX P.O. BOX 898 DOVER DE 19903



Epiq Corporate Restructuring, LLC                                                                            Page 1 OF 2
                                           Terraform Labs PTE Ltd.
                         Case 24-10070-BLS     Doc 208 Filed 04/04/24
                                                 Service List
                                                                              Page 4 of 10

Claim Name                            Address Information
SECURITIES & EXCHANGE COMMISSION      NEW YORK REGIONAL OFFICE ATTN: ANDREW CALAMARI, REGIONAL DIRECTOR BROOKFIELD
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                                      20 PICKERING STREET #22-01 SINGTEL / PICKERING OPERATIONS COMPLEX SINGAPORE
                                      048658 SINGAPORE
STANDARD CRYPTO VENTURE FUND I LP     ATTN: ASHLEY SWEREN 1225 4TH STREET 525 SAN FRANCISCO CA 94158
SUBMC1                                1 WALLICH STREET 31-01 GUOCO TOWER SINGAPORE 078881 SINGAPORE
TOKEN TERMINAL OY                     PIENI ROOBERTINKATU 9 HELSINKI 00130 FINLAND
TPC COMMERCIAL PTE LTD                ATTN: CHENG HSING YAO 1 WALLICH STREET 31-01 GUOCO TOWER SINGAPORE 078881
                                      SINGAPORE
TQ VENTURES                           ATTN: ANDREW MARKS 408 WEST 14TH STREET 4TH FLOOR NEW YORK NY 10014
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                                      TOWER 3 SINGAPORE 18982 SINGAPORE




                               Total Creditor count 43




Epiq Corporate Restructuring, LLC                                                                      Page 2 OF 2
              Case 24-10070-BLS              Doc 208    Filed 04/04/24   Page 5 of 10

                                 TERRAFORM LABS PTE. LTD.
                                       Case No. 24–10070
                                   First Class Mail Recipients

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                                                Page 1 of 1
Case 24-10070-BLS   Doc 208   Filed 04/04/24   Page 6 of 10




                    EXHIBIT B
            Case 24-10070-BLS     Doc 208     Filed 04/04/24    Page 7 of 10
                  TERRAFORM LABS PTE. LTD. - Case No. 24–10070 (BLS)
                             Master Email Service List
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                                      Page 1 of 2
            Case 24-10070-BLS      Doc 208     Filed 04/04/24   Page 8 of 10
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                                       Page 2 of 2
Case 24-10070-BLS   Doc 208   Filed 04/04/24   Page 9 of 10




                    EXHIBIT C
  Case 24-10070-BLS Doc 208 Filed 04/04/24 Page 10 of 10
     TERRAFORM LABS PTE. LTD., Case No. 24–10070 (BLS)
             Electronic Mail CM-ECF User Service List
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                               Page 1 of 1
